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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                           CASE NO.: 6:18-CV-1147-ORL-DCJ

HINES INTERESTS LIMITED PARTNERSHIP,
a Texas limited partnership; URBAN OAKS
BUILDERS, LLC, a Delaware limited liability
company; 1662 MULTIFAMILY LLC, a Delaware
limited liability company; HINES 1662
MULTIFAMILY, LLC, a Delaware limited liability
company; HINES INVESTMENT
MANAGEMENT HOLDINGS LIMITED
PARTNERSHIP, a Texas limited partnership;
HIMH GP, LLC, a Delaware limited liability
company; HINES REAL ESTATE HOLDINGS
LIMITED PARTNERSHIP, a Texas limited
partnership; JCH INVESTMENTS, Inc., a Texas
corporation;

       Plaintiffs,
v.

SOUTHSTAR CAPITAL GROUP I, LLC, a
Florida limited liability company; COTTINGTON
ROAD TIC, LLC, a Delaware limited liability
company; DURBAN ROAD TIC, LLC, a
Delaware limited liability company; COLLIS
ROOFING, INC., a Florida corporation; DA PAU
ENTERPRISES, INC., a Florida corporation;
FLORIDA CONSTRUCTION SERVICES, INC.,
a Florida corporation; STRUCTURAL
CONTRACTORS SOUTH, INC., a Florida
corporation; NAVIGATORS SPECIALTY
INSURANCE COMPANY, a New York
corporation; GEMINI INSURANCE COMPANY,
a Delaware corporation; and IRONSHORE
SPECIALTY INSURANCE COMPANY, an
Arizona corporation,

Defendants.
________________________                         ______/


                     NOTICE OF PENDENCY OF OTHER ACTIONS


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       In accordance with Local Rule 1.04(d), I certify that the instant action:

__X__ IS              related to pending or closed civil or criminal case(s) previously filed in
                      this Court, or any other Federal or State court, or administrative agency as
                      indicated below:

                      SOUTHSTAR CAPITAL GROUP, I, LLC, etc., et al., v. 1662
                      MULTIFAMILY LLC, etc., et al., Osceola County Circuit Court, FL, Case
                      # 2018-CA-4150-C

______ IS NOT         related to any pending or closed civil or criminal case filed with this
                      Court, or any other Federal or State court, or administrative agency.

       I further certify that I will serve a copy of this Notice of Pendency of Other Actions upon
each party no later than fourteen days after appearance of the party.



Dated: August 8, 2018

                                              Respectfully submitted,

                                              /s/Rebecca C. Appelbaum
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 8th day of August, 2018, I electronically filed a true and

correct copy of the foregoing with the Clerk of the Court by using the CM/ECF system which

will send a notice of electronic filing to all parties of record.


                                                /s/Rebecca C. Appelbaum
                                                REBECCA C. APPELBAUM, ESQ.




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